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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re
                                                                 Chapter 11
Lordstown Motors Corp., et al., 1
                                                                 Case No. 23-10831 (MFW)

                                        Debtors.                 (Jointly Administered)


                                      CERTIFICATE OF SERVICE

      I, Michael Villa, depose and say that I am employed by Kurtzman Carson Consultants LLC
(KCC), the claims and noticing agent for the Debtors in the above-captioned case.

        On January 8, 2024, at my direction and under my supervision, employees of KCC caused
to be served the following document via Electronic Mail upon the service lists attached hereto as
Exhibit A and Exhibit B; and via Overnight Mail upon the service lists attached hereto as Exhibit
C and Exhibit D:

    •    Notice of Agenda of Matters Scheduled for Hearing on January 10, 2024 at 3:00 p.m.
         (ET) [Docket No. 892]

Dated: January 9, 2024
                                                               /s/ Michael Villa
                                                               Michael Villa
                                                               KCC
                                                               222 N Pacific Coast Highway, 3rd Floor
                                                               El Segundo, CA 90245
                                                               Tel 310.823.9000




1
         The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown
Motors Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’
service address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
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                    Exhibit A
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                                                                                 Exhibit A
                                                                          Core/2002 Service List
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and Foxconn EV System LLC                 Allen & Overy LLP                           Jacob R. Herz, Robin Spigel         robin.spigel@allenovery.com
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                                                                   Core/2002 Service List
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                                                              Core/2002 Service List
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                    Exhibit B
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                                                                        Exhibit B
                                                       Objecting & Responding Parties Service List
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                                       Description               CreditorName        CreditorNoticeName          Email
                               Affected Claimant            Rahul Singh                                   Email Redacted
                               Counsel to U.S. Securities   U.S. Securities and
                               and Exchange Commission      Exchange Commission    David W. Baddley       baddleyd@sec.gov




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                    Exhibit C
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                                                                                                     Core/2002 Service List
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  Top 30 and Committee of          Barry L. Leonard and Company          dba Trans Machine
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                                                                                                          Attn Bankruptcy             Carvel State
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  DE Secretary of State                Delaware Secretary of State       Division of Corporations         Franchise Tax               PO Box 898                               Dover             DE    19903
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                                                                                              Core/2002 Service List
                                                                                             Served via Overnight Mail



              Description                    CreditorName             CreditorNoticeName                  Address1            Address2              Address3               City   State      Zip       Country
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                                   Securities & Exchange                                                                                        1617 JFK
  SEC Regional Office              Commission                    PA Regional Office               Regional Director      One Penn Center        Boulevard Ste 520 Philadelphia    PA      19103
                                   Securities & Exchange
  SEC Headquarters                 Commission                    Secretary of the Treasury        100 F St NE                                                     Washington      DC      20549
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  US Attorney for District of      US Attorney for District of
  Delaware                         Delaware                      US Attorney for Delaware         1313 N Market Street   Hercules Building                        Wilmington      DE      19801




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                                                                       Exhibit D
                                                      Objecting & Responding Parties Service List
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                       Description               CreditorName     CreditorNoticeName         Address1           City   State      Zip
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               and Exchange Commission      Exchange Commission   David W. Baddley     Road, N.E., Suite 900   Atlanta GA      30326-1382




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